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                      UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                        APR 11 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
TODD BRINKMEYER,                                 No.   23-35162

                   Petitioner-Appellant,         D.C. No. 3:20-cv-05661-BHS
                                                 Western District of Washington,
  v.                                             Tacoma

WASHINGTON STATE LIQUOR AND                      ORDER
CANNABIS BOARD,

                   Respondent-Appellee.

       Appellant’s motion to dismiss this appeal (Docket Entry No. 18) is granted.

Fed. R. App. P. 42(b). The parties shall bear their own costs and attorneys’ fees on

appeal.

       A copy of this order shall serve as and for the mandate of this court.

                                              FOR THE COURT:

                                              By: Sasha M. Cummings
                                              Circuit Mediator




Mediation
